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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION
  ____________________________________________________________________

EDDIE RAY BRADLEY,                                        )
                                                          )
                        Plaintiff,                        )
                                                          )
                v.                                        )   Case Number 15-CV-08489
                                                          )
VILLAGE OF UNIVERSITY PARK,                               )   Hon. Charles R. Norgle,Sr.
ILLINOIS, an Illinois Home Rule                           )   Judge Presiding.
Municipality, and VIVIAN COVINGTON                       )
Mayor of UNIVERSITY PARK,                                 )   JURY TRIAL
ILLINOIS, both in her individual and                     )    DEMANDED
official capacity as Mayor,                              )
                                                         )
                        Defendants.                      )

                                     NOTICE OF APPEAL

        Notice is hereby given that Eddie Ray Bradley, Plaintiff in the above named case, hereby

appeals to the United States Court of Appeals for the Seventh Circuit from the order finding

qualified immunity for the Defendants and dismissing Bradley’s complaint with prejudice,

entered in the United District Court, Northern District of Illinois, on September 1, 2016 (docket
35).


Dated: September 16, 2016

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                               CERTIFICATE OF SERVICE


        The undersigned, an attorney, certifies that he served a copy of Plaintiff’s NOTICE OF
APPEAL by means of electronic filing in accordance with Fed. R. Civ. P. 5, Local Rule 5.5, and
the General Order on Electronic Case Filing (ECF) XI (c), thereby causing a copy of the
foregoing to be served upon all counsel of record, this September 16, 2016.


                                               By: /s/ John T. Moran, Jr.
                                               Plaintiff’s Attorney


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